Case 20-40648-pwb    Doc 18    Filed 08/29/22 Entered 08/29/22 16:35:28        Desc Main
                               Document     Page 1 of 2




  IT IS ORDERED as set forth below:



  Date: August 29, 2022
                                                 _________________________________

                                                           Paul W. Bonapfel
                                                     U.S. Bankruptcy Court Judge
 _______________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

       IN RE:
                                                          CASE NO. 20-40648-PWB
      CHARLENE SUE KOWALSKI,
                                                          CHAPTER 7
           Debtor.


                              ORDER AND NOTICE OF HEARING

            IT IS ORDERED AND NOTICE IS HEREBY GIVEN that the Court will hold

      a hearing on the United States Trustee’s Motion to Reopen in Judge Bonapfel’s

      Virtual Hearing Room (video link at https://www.ganb.uscourts.gov/dial-and-virtual-

      bankruptcy-hearing-information) or at the following number: (toll-free number:[ 833-

      568-8864]; meeting id [161 794 3084], at 11:15 a.m. on September 21, 2022, in

      Courtroom 342, United States Courthouse, 600 East First Street, Rome, Georgia.
Case 20-40648-pwb    Doc 18    Filed 08/29/22 Entered 08/29/22 16:35:28       Desc Main
                               Document     Page 2 of 2



            Matters that need to be heard further by the Court may be heard by telephone,

      by video conference, or in person, either on the date set forth above or on some other

      day, all as determined by the Court in connection with this initial virtual hearing.

      Please review the “Hearing Information” tab on the judge’s webpage, which can be

      found under the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top

      of the webpage for this Court, www.ganb.uscourts.gov for more information.

                                       END OF ORDER
      Distribution List

      Vanessa A. Leo
      Office of the United States Trustee
      362 Richard B. Russell Building
      75 Ted Turner Drive SW
      Atlanta, GA 30303

      Thomas D. Richardson
      Brinson, Askew, Berry, et al.
      P. O. Box 5007
      Rome, GA 30162-5007

      Charlene Sue Kowalski
      663 Sumach Church Rd
      Chatsworth, GA 30705-6109

      Dan Saeger
      Saeger & Associates, LLC
      Suite D
      706 S Thornton Ave
      Dalton, GA 30720
